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l’SH
(S.FBS]
United States District Court 435 Jtlj»i le Pl‘l l= 27
for
Western District of Tennessee 151 j.‘“;‘.??
44EM?4443
U.S.A. vs. Bryant Edwards Docket No. 05-20039-02

and Docket No. 05-20143-01 l/

Petition l`or Action on Conditions of Pretrial Release

COMES NOW PRETR_[AL SERVICES OFFICER Stephanie K. Denton presenting an official report upon the
conduct of Defendant Bryant Edwards who was placed under pretrial release supervision by the Honorable 'l`u l\/I.
Pliam sitting in the court at Mernpbis, on the 28th day of February, 2005, under the following conditions:

l) Report to Pretrial Serviees as directed, 2) Maintain or actively seek employment, 3) Refrain from possessing a
tirearm, destructive device, or other dangerous weapon, 4) Refrain from any unlawful possession or use of a
controlled substanee, 5) Submit to substance abuse testing as directed by Pretrial Services, and 6) Participate in
substance abuse counseling if deemed advisable by Pretrial Services

Since the defendant’s release on pretrial release on March 21, 2005, the defendant has violated the following terms
ofhis release:

R|;`Sl’ll"l`l"ULLY PRESENTING l’l:"l`l'l`lON FOR ACTION OF COURT AND FOR C`AUSE AS FOl_I-(')WS:

See attached pagc.

ORDER OF COURT l declare under penalty of perjury that the

foregoing is true and correctl
Considered,and Ord€red this Jg__ ____
day gf .§\_3 cbg QOMnd Ordered Executed on June 13, 2005

flled and made a part ofthe records in the above
ease. """""

 

 

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9 {\_[/{/L)_. l,|.S. Pretrial Services Ot`t`icer

ll 5 Dislricl lodge agistrate / PlElC€ MCmplllS, rl`l\l
\___J/

 

Th-|S document entered on the docketéhee;in compliance

with Flule 55 andfor 32(b) FRCrP on -'

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Report to Pretrial Services as directed

Defendant Edwards failed to report in person to Pren'ial Services on May 9, 2005, l\/Iay l(), 2005, l\/Iay 12, 2005, and
May 13_ 2005. A failure to report letter was sent to the defendant on l\/Iay 17`, 2005. Defendant Edwards has not
reported to Pretrial Services in person since April 29, 2005.

Rel`rain from any unlawful possession or use of a controlled substance
On April 15, 2005, the defendant tested positive for amphetamines. On May 9, 2005, the defendant verbally
admitted to using methamphetamine one time while supervised on pretrial release

Submit to substance abuse testing as directed bv Pretrial Services
Defendant Edwards has been unable to be tested since April 29, 2005, due to his failure to report as directed

On April 21, 2005, Defendant Edwards was arrested on indictment number 05-20143-01 charging him with
Conspiracy and Possession with Intent to Distribute in Excess of 50 Grams of Methamphetamine. On April 27,
2005, Defendant Edwards appeared before U.S. Magistrate Tu M. Pham for the purpose of a detention hearing The
defendant was ordered released on the same bond and existing conditions of release as set in indictment number 05-
20039-02.

PRAY].NG THAT Tl'll;` COURT WILL ORDER lSSUANCE OF A WAR_RANT CHARGING THE DEFENDAN'["
WITH VlOLATING THE CONDITIONS OF PRETRIAL RELEASE.

BOND RECOMMENDATION: NONE

   

UNITED sTATE isTRIC COURT - wESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:05-CR-20143 was distributed by faX, mail, or direct printing on
J unc 16, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

